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10
                                 IN THE UNITED STATES DISTRICT COURT
11
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
12
                                            SACRAMENTO DIVISION
13

14

15   RALPH COLEMAN, et al.,                                  Case No. 2:90-cv-00520 KJM-DB (PC)

16                                             Plaintiffs,     DEFENDANTS’ CENSUS, WAITLISTS,
                                                               AND TRANSFER TIMELINES
17                    v.                                       COMPLIANCE REPORTS FOR
                                                               INPATIENT MENTAL HEALTH CARE
18
     GAVIN NEWSOM, et al.,
19
                                             Defendants.
20

21

22          Defendants California Department of Corrections and Rehabilitation (CDCR) and

23   Department of State Hospitals (DSH) file the attached reports capturing data concerning patient

24   census, waitlists, and compliance with transfer timelines for inpatient mental health care in

25   compliance with the Court’s October 13, 2015 order. (ECF No. 5367.) Attached is a letter from

26   CDCR and DSH enclosing the following census and inpatient reports, as modified by the Court’s

27   April 19, 2017 order (ECF No. 5610): (1) DSH CDCR Patient Census and Waitlist Report

28   (Exhibit A); (2) CDCR Psychiatric Inpatient Programs (PIP) Coleman Patient Census and
     [3419376.1]                                    1
       Defs.’ Census, Waitlists and Compliance Reports for Inpatient Mental Health Care (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-DB Document 6394 Filed 11/15/19 Page 2 of 20


 1   Waitlist Report as of October 28, 2019; (3) CDCR Mental Health Crisis Bed Coleman Patient

 2   Census and Waitlist Report as of October 28, 2019 (Exhibit C); (4) Psychiatric Inpatient

 3   Programs Census Report as of 10/28/2019 (Exhibit D); (5) CDCR Inpatient Program Referrals:

 4   Compliance with Program Guide Timeframes for Acute and Intermediate Referrals Admitted or

 5   Closed in October 2019 (Exhibit E); and (6) DSH Psychiatric Inpatient Timelines Compliance

 6   Report, Patients Admitted October 1 through October 31, 2019 Who Waited Beyond Program

 7   Guide Timelines (Exhibit F).

 8             The current compliance report at Exhibit E shows that of the 415 patients admitted to

 9   inpatient programs in October 2019, two transferred beyond Program Guide timelines as a result

10   of medical issues and one patient transferred twenty-four minutes beyond Program Guide

11   timelines without an exception.

12     Dated: November 15, 2019                                   XAVIER BECERRA
                                                                  Attorney General of California
13                                                                ADRIANO HRVATIN
                                                                  Supervising Deputy Attorney General
14

15                                                                /S/ ELISE OWENS THORN
                                                                  Elise Owens Thorn
16                                                                Deputy Attorney General
                                                                  Attorneys for Defendants
17

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28
     [3419376.1]                                           2
       Defs.’ Census, Waitlists and Compliance Reports for Inpatient Mental Health Care (2:90-cv-00520 KJM-DB (PC))
              Case 2:90-cv-00520-KJM-DB Document 6394 Filed 11/15/19
STATE OF CALIFORNIA — DEPARTMENT OF CORRECTIONS AND REHABILITATION
                                                                       Page 3 of 20
                                                                EDMUND G. BROWN JR., GOVERNOR

DIVISION OF HEALTH CARE SERVICES
STATEWIDE MENTAL HEALTH PROGRAM
P.O. Box 588500
Elk Grove, CA 95758




        November 15, 2019

        Adriano Hrvatin, Esq.
        Elise Owens Thorn, Esq.
        California Department of Justice
        455 Golden Gate Avenue, Suite 11000
        San Francisco, CA 94102-5500

        RE:      DEFENDANTS’ CENSUS, WAITLISTS AND TRANSFER TIMELINES
                 COMPLIANCE REPORTS FOR INPATIENT MENTAL HEALTH CARE

        Dear Mr. Hrvatin and Ms. Thorn:
                The California Department of Corrections and Rehabilitation (CDCR) and the California
        Department of State Hospitals (DSH) submit their monthly information on patient census,
        referrals, waitlists, and transfer timeline compliance for inpatient mental health care.

               The DSH CDCR Patient Census and Waitlist Report, attached as Exhibit A, and the DSH
        Psychiatric Inpatient Timelines Compliance Report, Patients Admitted October 1 through October
        31, 2019 Who Waited Beyond Program Guide Timelines, attached as Exhibit F, are based on data
        from the DSH Bed Utilization Management Report.

               The CDCR Psychiatric Inpatient Programs (PIP) Coleman Patient Census and Waitlist
        Report as of October 28, 2019 (Exhibit B), the CDCR Mental Health Crisis Bed Coleman Patient
        Census and Waitlist Report as of October 28, 2019 (Exhibit C), the Psychiatric Inpatient Programs
        Census Report as of 10/28/2019 (Exhibit D), and the CDCR Inpatient Program Referrals:
        Compliance with Program Guide Timeframes for Acute and Intermediate Referrals Admitted or
        Closed in October 2019 (Exhibit E), are generated using data from CDCR’s tracking software, the
        Referrals to Inpatient Programs Application.

               The reports attached as Exhibits A through D reflect data collected at a single point in
        time and, as a result, should not be used for purposes outside of those reports. The reports
        attached as Exhibits E and F are compliance reports from CDCR and DSH, both of which
        include requested compliance data for all referrals admitted to inpatient care in October 2019, for
        any inmate-patient who waited beyond the timelines specified in the Mental Health Services
        Delivery System Program Guide (2009 Revision) at 12-1-16. Two patients admitted to inpatient
        programs in October 2019 transferred beyond Program Guide timelines subject to an exception.
        One patient admitted to an inpatient program in October 2019 transferred twenty-four minutes
        beyond Program Guide timelines without an exception.

        Sincerely,

        /s/ Eureka Daye                                              /s/ Stephanie Clendenin
        EUREKA DAYE                                                  STEPHANIE CLENDENIN
        Deputy Director (A)                                          Acting Director
        Statewide Mental Health Program                              Department of State Hospitals
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                     Exhibit A
 State of California                                                                                                                                                                                                                              GAVIN NEWSOM, Governor

 DIVISION OF HOSPITAL STRATEGIC PLANNING AND
                                         CaseIMPLEMENTATION
                                                 2:90-cv-00520-KJM-DB                                                    Document 6394 Filed 11/15/19 Page 5 of 20
 Patient Management Unit
 1600 Ninth Street, Room 420
 Sacramento, CA 95814



                                                                                                           DSH CDCR Patient Census and Waitlist Report
                                                                                                                           Data as of: 10/28/19
 Acute Care Patients
                                                                                                               Beds         Medical Isolation
      DSH Facility - Acute - Female       Bed Capacity             Census             Beds on Hold1                                                  Available Beds                                  Waitlist                               Total Patients
                                                                                                             Redlined2          Rooms3
                                                                                                                                                                                                                                          Awaiting Admission
                                                                                                                                                                        Referrals Pending               Accepted Referrals
                       Patton6                  -                      0                     0                   0                  0                      0
                                                                                                                                                                             Review              CDCR Prison4          CDCR PIP5                    0
                        Total                   -                      0                     0                   0                  0                      0                     0                      0                        0     (Includes 0 Waiting >10 Days)


 Intermediate Care Low Custody - Unlocked Dorms
                                                                                                               Beds         Medical Isolation
     DSH Facility - Unlocked Dorms        Bed Capacity             Census             Beds on Hold1                                                  Available Beds                                  Waitlist                               Total Patients
                                                                                                             Redlined2          Rooms3
                                                                                                                                                                                                                                          Awaiting Admission
                   Atascadero                  256                   255                     3                   0                  0                      -2           Referrals Pending                   Accepted Referrals
                       Coalinga                50                     41                     0                   0                  0                      9                 Review              CDCR Prison4              CDCR PIP5                24

                        Total                  306                   296                     3                   0                  0                      7                     5                      9                        10    (Includes 0 Waiting >30 Days)



 Intermediate Care Low Custody - Unlocked Dorms - Female

  DSH Facility - Unlocked Dorms -                                                                              Beds         Medical Isolation
                                          Bed Capacity             Census             Beds on Hold1                                                  Available Beds                                  Waitlist                               Total Patients
              Female                                                                                         Redlined2          Rooms3
                                                                                                                                                                                                                                          Awaiting Admission
                                                                                                                                                                        Referrals Pending               Accepted Referrals
                       Patton6                 30                     17                     0                   0                  0                      13
                                                                                                                                                                             Review              CDCR Prison4          CDCR PIP5                    1
                        Total                  30                     17                     0                   0                  0                      13                    0                      1                        0     (Includes 0 Waiting >30 Days)

 1
 Beds on hold are assigned for internal patient movement and patients waiting to transfer to DSH. When allocated Coleman beds are at maximum capacity within the facility, beds with patients pending discharge may be placed on hold for accepted patients to
 maximize bed utilization. This may result in negative totals for available beds, but does not necessarily imply exceeding capacity.
 2
   Redlined beds are temporarily unavailable due to repairs.
 3
   Medical isolation rooms are required for licensing and physically differ from the other housing in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
 4
   Direct referrals from a CDCR prison for patients awaiting transfer to DSH for inpatient treatment.
 5
     Referrals for patients currently receiving inpatient treatment within a CDCR PIP referred to DSH for stepdown of LRH or Level of Care change.
 6
     Beds at DSH-P are for female patients only.




Source: BUMMs                                                                                                                       1 of 1
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                     Exhibit B
                                                                                            CDCR Psychiatric Inpatient Programs (PIP)
                                                                                        Coleman Patient Census and Waitlist Report as of
                                                              Case       2:90-cv-00520-KJM-DB Document 6394 Filed 11/15/19                                                                   Page 7 of 20
                                                                                                       October 28, 2019
                                                                                                                             Medical
                                                                                           Beds            Beds                             Available
MALE ACUTE PIPs                                         Bed Capacity       Census                                           Isolation
                                                                                         Reserved1       Redlined2                            Beds
                                                                                                                             Rooms3                             Pending             Accepted                              Total Acute Referrals
                                                                                                                                                                                                       Total Waitlist
California Health Care Facility (CHCF)***                    234             227             7                0                 8               ‐8             Referrals4           Referrals5                             Waiting > 10 Days
California Medical Facility (CMF)                            218             200             4                0                 0               14
San Quentin (SQ)**                                            10              10             0                0                 0                0
Total                                                        462             437             11               0                 8                6                 24                   7                    31                      0

                                                                                                                             Medical
                                                                                           Beds                                             Available                                                                                                 Total Intermediate
MALE INTERMEDIATE LOCKED DORM PIP                       Bed Capacity       Census                      Beds Redlined        Isolation                                               Accepted
                                                                                         Reserved                                             Beds        Pending Referrals                            Total Waitlist                                  Referrals Waiting
                                                                                                                             Rooms                                                  Referrals
                                                                                                                                                                                                                                                          > 30 Days
CMF                                                           84              78              9               0                 0               ‐3
Total                                                         84              78              9               0                 0               ‐3                 9                    4                    13                                                 1

                                                                                                                             Medical
                                                                                           Beds                                             Available
MALE INTERMEDIATE HIGH CUSTODY PIPs                     Bed Capacity       Census                      Beds Redlined        Isolation
                                                                                         Reserved                                             Beds
                                                                                                                             Rooms
                                                                                                                                                                                                                                                      Total Intermediate
CHCF Single Cell                                             300             285              4               0                10                1                                  Accepted
                                                                                                                                                          Pending Referrals                            Total Waitlist                                  Referrals Waiting
CMF Multi Cell                                                70              59              2               0                 0                9                                  Referrals
                                                                                                                                                                                                                                                          > 30 Days
CMF Single Cell                                               94              88              5               0                 0                1
Salinas Valley State Prison (SVSP) Multi Cell                44              40              9                0                 0                ‐5
SVSP Single Cell                                             202             194             18               0                 0               ‐10
Total                                                        710             666             38               0                10                ‐4                70                   6                    76                                                 0

                                                                                                                             Medical
                                                                                           Beds                                             Available                                                                                                 Total Intermediate
MALE CONDEMNED PIP                                      Bed Capacity       Census                      Beds Redlined        Isolation                                               Accepted                              Total Acute Referrals
                                                                                         Reserved                                             Beds        Pending Referrals                            Total Waitlist                                  Referrals Waiting
                                                                                                                             Rooms                                                  Referrals                              Waiting > 10 Days
                                                                                                                                                                                                                                                          > 30 Days
California State Prison, San Quentin                          30              30              2               0                 0               ‐2
Total                                                         30              30              2               0                 0               ‐2                 2                    0                     2                      0                          0

                                                                                                                             Medical
                                                                                           Beds                                             Available                                                                                                 Total Intermediate
FEMALE HIGH CUSTODY PIP                                 Bed Capacity       Census                      Beds Redlined        Isolation                                               Accepted                              Total Acute Referrals
                                                                                         Reserved                                             Beds        Pending Referrals                            Total Waitlist                                  Referrals Waiting
                                                                                                                             Rooms                                                  Referrals                              Waiting > 10 Days
                                                                                                                                                                                                                                                          > 30 Days
California Institution for Women                              45              32              2               0                 0               11
Total                                                         45              32              2               0                 0               11                 2                    0                     2                      0                          0

                                                                                                                             Medical                                                                                                                  Total Intermediate
                                                                                           Beds                                             Available                               Accepted                              Total Acute Referrals
                                                        Bed Capacity       Census                      Beds Redlined        Isolation                     Pending Referrals                            Total Waitlist                                  Referrals Waiting
                                                                                         Reserved                                             Beds                                  Referrals                              Waiting > 10 Days*
                                                                                                                             Rooms                                                                                                                       > 30 Days**
GRAND TOTALS ‐ ALL PIPs                                     1331            1243             62               0                18                8                107                   17                 124                       0                         1
                                                                                                                                                                                                          6 DSH
1
  Beds Reserved ‐ Beds held or endorsed to by the Health Care Placement Oversight Program (HCPOP) for a specific patient. The referral is either pending clinical acceptance by the PIP or the patient is pending transfer to the PIP.
2
  Beds Redlined ‐ Beds are temporarily unavailable fpr patient placement due to repairs or single cell status (if a two‐man cell).
3
  Medical Isolation Rooms ‐ Rooms are required for licensing and physically differ from the other housing cells in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
4
  Pending Referrals ‐ Includes all referrals received by the Mental Health Inpatient Referrals Unit (new inpatient referral, level of care transfers, least restrictive housing transfers) that are pending a clinical referral review, least restrictive housing
determination, HCPOP endorsement/bed vacancy, or inpatient program acceptance.
5
  Accepted Referrals ‐ Includes all referrals that have been endorsed to a bed, have been accepted by the inpatient program, and are awaiting transfer.

*The one ICF referral, waiting greater than 30 days, is pending a medical hold exception.
** On October 17, 2019, 4 SQ PIP and 6 SQ MHCB were converted to establish the SQ APP program for non‐condemned.
***On October 17, 2019, 20 CHCF MHCB beds were converted to CHCF APP beds increasing the Acute program capacity.




Data Source: RIPA                                                                                                                                                                                                         CCHCS, Health Care Placement Oversight Program
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                     Exhibit C
                               Case 2:90-cv-00520-KJM-DB Document 6394 Filed 11/15/19 Page 9 of 20

                                               CDCR Mental Health Crisis Bed
                                       Coleman Patient Census and Waitlist Report as of
                                                     October 28, 2019


                                                                                                                   Total Pending
CDCR MHCB                                                 Beds     Available   Total Pending
                     Bed Capacity         Census                                               Beds Assigned         Referrals
Programs                                                Redlined     Beds        Referrals
                                                                                                                    > 24 hours
Male Programs            407               265            21         121            8                 8                  1
Female Programs          41                 22             0         19             0                 0                  0
            Totals       448               287            21         140            8                 8                  1




Data Source: HEART                                                                        CCHCS, Health Care Placement Oversight Program
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                     Exhibit D
                                                                                                                            Monday, 10/28/2019
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                                                                                                                                 Time: 04:30 PM



                            PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF 10/28/2019
                     Facility                           Bed Capacity                               Beds Occupied
                                                       Male Acute Care Programs
                                      PIP‐Vacaville          218            No Score:                                             7
                                                                            Level I:                                             13
                                                                            Level II:                                             58
                                                                            Level III:                                            27
                                                                            Level IV                                             95
                                                                            Total Census:                                        200
                                      PIP‐Stockton           234            No Score:                                             10
                                                                            Level I:                                             16
                                                                            Level II:                                             48
                                                                            Level III:                                            31
                                                                            Level IV                                             122
                                                                            Total Census:                                        227
                                   DSH‐Atascadero             0             No Score:                                             0
                                                                            Level I:                                              0
                                                                            Level II:                                              0
                                                                            Level III:                                             0
                                                                            Level IV                                              0
                                                                            Total Census:                                          0
                                       San Quentin            10            No Score:                                             0
                                                                            Level I:                                              1
                                                                            Level II:                                              2
                                                                            Level III:                                             0
                                                                            Level IV                                              7
                                                                            Total Census:                                         10
              Totals for Male Acute                         462                                                                  437
                                        Male Intermediate Care Facility (High Custody) Programs
                                      PIP‐Stockton           300            No Score:                                              5
                                                                            Level I:                                              12
                                                                            Level II:                                             45
                                                                            Level III:                                            29
                                                                            Level IV                                             194
                                                                            Total Census:                                        285
                                                                            Total out of LRH:                                    178
                                      PIP‐Vacaville           94            No Score:                                             3
                                                                            Level I:                                               1
                                                                            Level II:                                             20
                                                                            Level III:                                            15
                                                                            Level IV                                              49
                                                                            Total Census:                                         88
                                                                            Total out of LRH:                                    62
                                PIP‐Vacaville Multi‐          70            No Score:                                              5
                                       person Cells
                                                                            Level I:                                               1
                                                                            Level II:                                              5
                                                                            Level III:                                            11
                                                                            Level IV                                              37
                                                                            Total Census:                                         59
                                                                            Total out of LRH:                                     14




                                                                                            CCHCS, Health Care Placement Oversight Program
Page 1 of 3                                                                                 Referrals to Inpatient Programs Application (RIPA)
                                                                                                                       Monday, 10/28/2019
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                                                                                                                            Time: 04:30 PM



                            PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF 10/28/2019
                     Facility                          Bed Capacity                           Beds Occupied
                                  PIP‐Salinas Valley       202         No Score:                                             0
                                                                       Level I:                                              4
                                                                       Level II:                                             28
                                                                       Level III:                                            26
                                                                       Level IV                                             106
                                                                       PC 1370:                                             27
                                                                       WIC 7301:                                             3
                                                                       Total Census:                                        194
                                                                       Total out of LRH:                                    85
              PIP‐Salinas Valley Multi‐person Cells        44          No Score:                                             0

                                                                       Level I:                                              1
                                                                       Level II:                                             4
                                                                       Level III:                                            8
                                                                       Level IV                                             27
                                                                       PC 1370:                                              0
                                                                       WIC 7301:                                             0
                                                                       Total Census:                                         40
                                                                       Total out of LRH:                                    15
      Totals for Male ICF High Custody                  710                                                                 666
                                    Male Intermediate Care Facility (Low Custody) Programs
                                PIP‐Vacaville Dorms        84          No Score:                                             3
                                                                       Level I:                                              7
                                                                       Level II:                                             13
                                                                       Level III:                                            20
                                                                       Level IV                                             35
                                                                       Total Census:                                         78
                                                                       Total out of LRH:                                    20
                                   DSH‐Atascadero          256         No Score:                                              0
                                                                       Level I:                                              37
                                                                       Level II:                                            127
                                                                       Level III:                                            40
                                                                       Level IV                                             51
                                                                       Total Census:                                        255
                                      DSH‐Coalinga         50          No Score:                                              0
                                                                       Level I:                                              6
                                                                       Level II:                                             21
                                                                       Level III:                                             4
                                                                       Level IV                                             10
                                                                       Total Census:                                         41
       Totals for Male ICF Low Custody                     390                                                              374




                                                                                       CCHCS, Health Care Placement Oversight Program
Page 2 of 3                                                                            Referrals to Inpatient Programs Application (RIPA)
                                                                                                                          Monday, 10/28/2019
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                                                                                                                               Time: 04:30 PM



                            PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF 10/28/2019
                     Facility                         Bed Capacity                               Beds Occupied
                                                     Male Condemned Program
                                  PIP‐San Quentin          30             Total Census:                                         30




                                                        Female Programs
                                      DSH‐Patton           30             No Score:                                             0
                                                                          Level I:                                              3
                                                                          Level II:                                             12
                                                                          Level III:                                            1
                                                                          Level IV                                              1
                                                                          Total Census:                                         17
              PIP‐California Institution for Women         45             No Score:                                             8

                                                                          Level I:                                               1
                                                                          Level II:                                              4
                                                                          Level III:                                             3
                                                                          Level IV                                              16
                                                                          Total Census:                                         32
                                                                          Total out of LRH:                                      3
         Totals for Female ICF/Acute                       75                                                                   49
                                 Total Inpatient Program Capacity and Census ‐ Male and Female
                GRAND TOTALS                              1667                                                                1556




                                                                                          CCHCS, Health Care Placement Oversight Program
Page 3 of 3                                                                               Referrals to Inpatient Programs Application (RIPA)
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                      Exhibit E
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                                                          DETAIL OF APP REFERRALS OUT OF COMPLIANCE
                                           Case 2:90-cv-00520-KJM-DB     Document 6394 Filed 11/15/19 Page 17 of 20
                                                                                     OCTOBER 2019
                                                                                                                                                      Days from                    Days over
   HCPOP                              Accepting   Date Placed on                                                                                                      Within
              HCPOP Endorsement                                     Inpatient Program Inpatient Prog Admit         Comments for            Referral   Referral to                   Program
Endorsement                           Inpatient     Accepted                                                                                                      Program Guide
                    Date                                                Admitted           Date/Time             DELAY / EXCEPTION          Status    MH IRU and                     Guide
  Location                            Program      Referrals List                                                                                                  Timeframes?
                                                                                                                                                      Admission                   Timeframes
APP: VPP      10/12/2019 16:02:00   APP: VPP      10/12/2019        APP: VPP          10/13/2019 00:24:15    24 minutes over timeline.   Admitted         11            N              1
APP: CHCF     10/11/2019 13:15:00                                                                            EXCEPTION: Complex
                                    APP: CHCF     10/21/2019        APP: CHCF         10/22/2019 14:50:33                                Admitted         21            N             11
APP: CHCF     10/15/2019 09:29:00                                                                            Medical Issues
APP: VPP      10/02/2019 14:36:00   APP: VPP      10/03/2019        APP: VPP          10/17/2019 21:11:40    EXCEPTION: Medical Hold     Admitted         23            N             13

                                                                                                                                                         TOTAL DAYS OUT OF            1
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                      Exhibit F
State of California                                                                                                                                                                                                      GAVIN NEWSOM, Governor
                                  Case 2:90-cv-00520-KJM-DB
DIVISION OF HOSPITAL STRATEGIC PLANNING AND IMPLEMENTATION  Document 6394 Filed 11/15/19 Page 19 of 20
Patient Management Unit
1600 Ninth Street, Room 420
Sacramento, CA 95814




                                                                                  DSH Psychiatric Inpatient Timelines Compliance Report
                                                             Patients Admitted October 1 through October 31, 2019 Who Waited Beyond Program Guide Timelines


                                     Level of Care                                          Patients Waiting Outside Program Guide Timelines3                               Days Waited Outside Program Guide Timelines4

                              Intermediate Care Admissions                                                             0                                                                             0
                                        Subtotal                                                                       0                                                                             0
                                                                             1
     Exceptions to Program Guide Timelines - OTC, OTH, and Medical Holds                                               0                                                                             0
               Exceptions to Program Guide Timelines - Internal Referrals2                                             0                                                                             0
               Total Excluding Exceptions to Program Guide Timelines                                                   0                                                                             0

1
 Includes exceptions to the Program Guide timelines for referrals on hold for patients with out-to-court status, out-to-hospital status, and medical holds.
2
 Includes exceptions to the Program Guide timelines for CDCR patients currently receiving inpatient treatment within a DSH program and have been referred for internal movement within DSH (e.g., transfer to LRH, level of care transfers).
3
 Includes patients admitted in October 2019 who waited greater than 30 days from the DSH referral received date.
4
 Includes the total number of days patients admitted in October 2019 waited beyond 30 days from the DSH referral received date.




Source: BUMMs                                                                                                      1 of 2
State of California                                                                                                                                                                GAVIN NEWSOM, Governor

                                     Case
DIVISION OF HOSPITAL STRATEGIC PLANNING AND2:90-cv-00520-KJM-DB
                                           IMPLEMENTATION                                Document 6394 Filed 11/15/19 Page 20 of 20
Patient Management Unit
1600 Ninth Street, Room 420
Sacramento, CA 95814




                                                                          DSH Psychiatric Inpatient Timelines Compliance Report
                                                      Patients Admitted October 1 through October 31, 2019 Who Waited Beyond Program Guide Timelines
Patients Admitted to Intermediate Care
                                                                                      Number of Days
                                                                                                                                              Total Days Waited
                                                   CDCR Direct/       Total Days on       Waited
                      Name               CDCR #                                                         Total Days on Hold   Exclusion Days       Excluding       Exception Reason(s)
                                                   DSH Internal          Waitlist     Beyond Program
                                                                                                                                                 Exceptions
                                                                                      Guide Timelines
                       -                   -              -                 -                -                  -                  -                  -                    -
  Total Number of Patients Waiting                Total Number of
                                           0                               0                0                   0                  0                 0                     -
           Over 30 Days                           Days All Patients




Source: BUMMs                                                                                      2 of 2
